3:17-cv-00839-MBS   Date Filed 03/30/17   Entry Number 1-1   Page 1 of 9




            EXHIBIT A
               (State Court Pleadings)
   3:17-cv-00839-MBS           Date Filed 03/30/17        Entry Number 1-1         Page 2 of 9




                                                                                             ~I

STATE OF SOUTH CAROLINA                             IN THE COURT OF COMIVION PLEAS

COUNTY OF RICHLAND                                  FIFTH JUDICIAL CIRCUIT

Kanesha Thomas,                                     Case No.
                                       Plaintif~
                      vs.                                           SUMMONS                  ;

Lexis Nexis Risk Solutions, Inc. and Trans
Union LLC,                                                                                    U




       TO:     THE DEFENDANTS ABOVE NAMED:                                           G7 ~    X10      ~


       YOU ARE HEREBY SUMMONED and required to answer the Complaint in Ws 90ion,
                                                                                             cn
a copy of which is hereby served upon you and to serve a copy of your Answer to the;s~id
Complaim on the subscn'ber, David A. N1axSeld, Esquire, at his offce at 5217 N. Trenholm Rd.,
                                                                                                  ;
Ste. B, Columbia, South Car+olina 29206, within thirty (30) days afler service hereof; exclusive of
the date of such service; and if you fail to answer the Complaint within the time aforesaid, the
Plaintiff in this action will apply to the court for the relief demanded in the Complaint. If you
fail to appear and defend, judgment by default will be rendered against you for the relief
demanded in the Complaint.



                                              By:
                                                      David A. kaxficid, Esq. (SC Bar 7163)
                                                      DAVE MAXFIELD, ATTORNEY, LLC
                                                      5217 N. Trenholm Rd., Ste. B
                                                      Columbia, South Carolina 29206
                                                      (803) 509-6800

DATED: February 20, 2017
Columbia, South Caroliaa
  3:17-cv-00839-MBS           Date Filed 03/30/17        Entry Number 1-1            Page 3 of 9




STATE OF SOUTH CAROLINA                         1N THE COURT OF COMMON PLEAS

COUNTY OF RICHLAND                                     FIFTH JUDICIAI. CIRCUIT

Kanesha J. Thomas,
                                                                 Ca.se No.
                                Plaintiff, j
                                                              COIVII'LAINT                  P,     `
PT~
                                                                                        ' ~*
                                                                                     ^ _.. ~
                                                                                             . •
                                                           (Juffy Trial Reqw:sted)
Lexis Nexis Risk Solutions, lnc., and                                                       c-n
Ti•ans Union LLC,                                                                           0
                                                                                             i
                            Defendants.



      Plaintiily complaining of the Defendants above named, would show this Court as follows:
                                         JURiSDICTiON

  1. The State of Residence of Plaintiff is the State of South Carolina

  2. The Defendant Lexis Nexis Risk Solutions, Im. ("L,exisNexis"j is a foreign corporation
                                                                                          , with
      its principal place of business, "nerve center" and headquarters in the State of Ceorgi I
                                                                                              I
  3. Tlsr Defendant Tnms Union LLC ("Traos Union") is a foreign corporetion with its principal

      place of business, "nerve center" and headquafts in the State of Dlinois.

  4. This Court has jurisdiction over the patties and subject matter of this action, and venue is

      proper based upcm the non-residence of the Defendant(s) herein.

                                      FACTUAL ALLEGATIONS
  S. Over the last two years, Defendants have mixed Plaintiffs personal, residential and other

      history with that of another "consumer," Plsintiffs twi,n sister, "Kamesha J. Boyd" or

      "ICamesha Thomas Boyd" and "Kanesha Thoms".
3:17-cv-00839-MBS           Date Filed 03/30/17        Entry Number 1-1          Page 4 of 9




6. Because of the mixing, and other errors by the defendants, plaintiff has suffered damages,

   beginning with her inability to purchase car insuranoe at a rate appropriate for her driving

   history.

7. On or about July 1, 2016, due to the mixing, the Plaintifl's insurance carrier, Geico,

    changed the insured under her policy to "Kamesha J. Boyd."

8. ABer receiving the insurance card in the mail, Plaintiffcontacted Geico r+egarding the error

    and learned that her information had been nwced with her sister, and that her brother-in-

    law (Pierre Boyd's) negative driving record and/or prior accident(s) had now been made a

   part of her record by Defendant L,exis.

9. Plaintiff was wiable to return the policy to her neme and was foroed to cancel her policy;

   then she was forced to open a new policy at a higher rate.

10.On or about August 9, 2016 Plaintiff received a copy of her credit file from 1?efendant

   Lexis Nexis Risk solutions, Inc. wherein she discovered numerous other inaccuracies in it,

   iacluding her sister's and brother-in-Iaw's name, addresxs, and personai infannation.

11.On or about August 29, 2016, Plaintiff made an extensive and detailed written dispute to

   Defendant L,exis Nexis; however, Defendant Lexis Nexis failed and refused to correct the

   errors in her file.

12.On or about August 2016, Plainti$ fearing that her sister's information was also negatively

   agecting her other credit files as it had in the past, requested her cnedit reports from other

   credit reportisng agencies.

13.Upon receipt of her Trans Union credit file, Plaintiff learned that it too contained inaccnacies

   in her personal infonmation, including incorrect the name variation "Kanesha J. Thoms."
3:17-cv-00839-MBS          Date Filed 03/30/17        Entry Number 1-1          Page 5 of 9




14.Plaintiff then discovered that Defendant Trans Union sold her credit file to multiple.third-

   parties with no permissible purpase to view it, in violation of 15 U.S.C. 1681(b).

15.On or about Atgust 29, 2016 Plaintiff made a writtm dispute of the incornect infonnation and

   imauthoriwd inquiries to Trans Union.

16.In responx, Defendant Trans Union failed to remove the incorrect personal information or

   unauthorized inquiries from Plainfiffs credit file, in violation of 15 U.S.C. § 1681i. !

17.As a direct and proximate result of Defendants' wrongfnl acts, Plaintiffhas been damaged;
                                                                                           I
   she has signiScant fivstration, loss of her insurance, a higher insurance premium, and
                                                                                            ~
   emotional distr+ess, invasion of her privacy by sale of her file to partdes with no permissible

   pwpwse to view it, and has spent signi6cant personal time attemp&g to correct her!files,

   to no avaii.

                         FOR A FIRST CAUSE OF ACTION
                        (Negligent Noncompiiance wit6 FCRA)

18.Plaintdf realleges and inoorporates the aUegations contained elsewhere herein to the extent

   not inconsisbent with the allegations of this Cause of Action.

19.Defendants prepared and fumished ci+edit reports on Plaintiffthat contaiaed false infornabion.

20. Plaintiff notified Defendants that they were reporang false infommtion, disputed that

   infonmtion, and aslced Defcedants to oornect it.

21. Despite those disputes, Defendants continued to n:port false information.

22.Upon information and belieC Defendants' reporting is at presem falm and incon+ect.

23. Defendants have negligently failed to comply with the requirements of the FCRA, includi~g

   but not limited to the requirements oontained in 15 U.S.C. §1681e and §1681i.
24.AdditionaUy, Defendant Trans Union lsas negligently failed to comply with the requirements

   contaiined in 15 U.S.C. § 1681 b of the FCRA.
   3:17-cv-00839-MBS               Date Filed 03/30/17         Entry Number 1-1       Page 6 of 9




   25. Because of Befendants' failure to comply with the requirements of FCRA, Plaintiff suffered

          and contmue.s to suffer actual damages, including economic loss, denial of credit, lost

          opportunity to receive ctedit, damage to reputation, invasion of privscy, emotional distress

          and iztterference with Plainttff s normal and usual ac6vities for which Plaintiff seeks damages

          in an amoumt to be detamined by the jury.

   26. Plaintiffrequests attoraey fees pursvant to 15 U.S.C. §1681o(a).

                                   SECOND CAUSE OF ACTION
                                 (Willful Noncompliance with FCRA)

   27. Plaintiff realleges and incorporates the allegetions contained elsewhere herein to the extent

          not inconsisDcnt with the alleg,ations of tfiis Cause of Action.

   28. Defendants prepared and fiunished credit reports on Plaintiffthat contdned false information.

   29. Plaintiff notified Defendants that of the reportiug of faLse information, disputed that

          information, and asked Defendants to cornect it Daspite those dispirtes, Ddendants continued

          to report false information.

   30. Defendarts willfiilly failed to comply with the requiremeflts of FCRA.
                                                                                                  I
    31. Because of Defeadants' willfiil violations of the FCRA, Plaintiff is entitled to recover actual,

          statutory and punitive damages.

   32. Plaintiffrequests attomey fees pucsuant to 15 U.S.C. § 1681n(a).

                                         PRAYER FOR RELIEF
          WHEREFORE, the prayer of the Plaintiff is for judgment in an amount sufficient to
compensate Plaintiff for actual damages, together with punitive damages, statutory damages,
                                                                                                     i
such interest as is allowable by law, costs, attorney's fees, and such other relief as is jnst and
proper.
   3:17-cv-00839-MBS   Date Filed 03/30/17   Entry Number 1-1       Page 7 of 9




                           DAVE MA           ATTORNEY, LLC


                           By:
                                 Davi A. Maxfield, Esq., SC Bar No 7163
                                 5217 N. Trenholm Road, Suitc B
                                 Columbia, SC 29206
                                 803-509-6800
                                 855-299-1656 (fax)
                                 dave u.consumet-lWVsc.aom




January 17. 2017
3:17-cv-00839-MBS        Date Filed 03/30/17      Entry Number 1-1    Page 8 of 9




STATE OF SOUTH CAROLINA                      IN THE COURT OF COMMON PLEAS

COUNTY OF RICHLAND                           FIFTH JUDICIAL CIRCUIT

Kanesha J. Thomas,

                               Plaintiff, Case No.2017-CP-40-1087
                  Vs.
                                                  CERTIFICATE OF SERVICE
Lexis Nexis Risk Solutions, Inc. and
Trans Union LLC,

                            Defendants.

I, the undersigned employee of Dave Maxfield, Attorney, LLC do hereby swear and

affirm that on the 24th day of February, 2017, I served the foregoing Summons &

Complaint, by sending a copy of same by U.S. Certified Mail, Restricted Delivery,

Return Receipt Requested to the following:

Lexis Nexis Risk Solutions, Inc.
c/o CT Corporation System
2 Office Park Court Suite 103
Columbia, South Carolina 29223

Trans Union LLC
c/o The Prentice- Hall Corporation System, Inc.
1703 Laurel Street
Columbia, South Carolina 29201




                                              J    Bess

DATED: February 24, 2017
Columbia, South Carolina
3:17-cv-00839-MBS   Date Filed 03/30/17   Entry Number 1-1   Page 9 of 9
